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                                OFFICE OF THE CLERK
                            UNITED STATES DISTRICT COURT
                               Northern District of California

                                        CIVIL MINUTES


 Date: September 3, 2020           Time: 10:30-10:38=              Judge: EDWARD M. CHEN
                                         8 Minutes

 Case No.: 18-cv-04865-EMC         Case Name: In re Tesla Inc. Securities Litigation


Attorneys for Plaintiff: Nicholas Porritt, Adam McCall, Adam Apton
Attorneys for Defendant: Sarah Lightdale, Patrick Gibbs, Samantha Kirby

 Deputy Clerk: Angella Meuleman                         Court Reporter: Katherine Sullivan

                       PROCEEDINGS HELD BY ZOOM WEBINAR

Status Conference held.

                                           SUMMARY

Parties negotiating ESI stipulation and down to the last final strokes.

Discovery: Plaintiff reported no issues have arisen; one week delay due to change of defense
counsel but nothing that has jeopardized the case management schedule. Document exchange
between the parties has begun. Plaintiff has received a reasonable production from Securities and
Exchange Commission.

Parties are on schedule for Class Certification. Parties are discussing the narrowing of issues.
Request to extend page limit likely; Court cautioned against excessive briefing.

ADR: Court inquired as to status. Opposition to class certification motion due 11/23/2020. By
then, parties should have a better idea of case analysis in order for ADR to be meaningful. Court
encouraged parties to begin discussions for selection of mediator and mediation platform; sooner
rather than later.

Further Status Conference set 12/3/2020 at 10:30 a.m. Joint Status Report due 11/25/2020.
